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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

ARCHIE LOCKLEY,                           )
                                          )
                                          )
       Plaintiff,                         )
                                          )
v.                                        )   Civil Action No.: 2:17-cv-575-SRW
                                          )
ACCOUNTS RECEIVABLE                       )
TECHNOLOGIES,                             )
                                          )
       Defendant.                         )

                                          ORDER

       This matter is before the court on the notice of voluntary dismissal (Doc. 8) filed

pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i) on October 17, 2017. Upon

consideration of the same, it is hereby

       ORDERED that the Clerk of Court is DIRECTED to close this case. See Anago

Franchising, Inc. v. Shaz, LLC, 677 F.3d 1272 (11th Cir. 2012).

       DONE, on this the 17th day of October, 2017.

                                          /s/ Susan Russ Walker
                                          Susan Russ Walker
                                          United States Magistrate Judge
